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              IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
                 BEFORE THE HONORABLE TIMOTHY M. REIF, JUDGE


 KINGTOM ALUMINIO S.R.L.,

                 Plaintiff,

         v.

 UNITED STATES OF AMERICA;
 DEPARTMENT OF HOMELAND
 SECURITY; UNITED STATES CUSTOMS
 AND BORDER PROTECTION; KRISTI                            Ct. No. 24-00264
 NOEM, in her official capacity as Secretary
 of the Department of Homeland Security;
 CALEB VITELLO, in his official capacity as
 the Acting Commissioner for U.S. Customs
 and Border Protection,

                 Defendants.


     PLAINTIFF’S MOTION FOR EXPEDITED TREATMENT OF ITS ACTION TO
       CONTEST A FINDING BY U.S. CUSTOMS AND BORDER PROTECTION

        Plaintiff Kingtom Aluminio S.R.L. (“Kingtom” or “Plaintiff”) hereby moves, pursuant to

Rule 3(g) of this Court, that the Court expedite Plaintiff’s action contesting the Finding by

U.S. Customs and Border Protection (“Customs” or “CBP”) that Kingtom produced aluminum

extrusions in the Dominican Republic using forced labor. Pursuant to Rule 3(g)(5) of this

Court, the Court may grant, on its own or for good cause shown, expedited consideration of any

action that the Court determines warrants expedited treatment. As explained below, there is

good cause for the Court to order expedited treatment of this action.

I.      Preliminary Statement

        Plaintiff filed this action to contest Customs’ Notice of Finding That Aluminum

Extrusions and Profile Products and Derivatives Produced or Manufactured Wholly or in Part

by Kingtom Aluminio S.R.L. With the Use of Convict, Forced or Indentured Labor Are Being, or


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Are Likely To Be, Imported Into the United States. See 89 Fed. Reg. 96,265 (Dec. 4, 2024)

(“Finding”). Customs’ conduct in issuing this Finding, and its decision to immediately embargo

all of Kingtom’s imports on the basis that they are made with forced labor — citing no evidence

to support this decision — lies outside the bounds of normal practice, law, and fairness such that

the interests of justice demand redress before this Court as expeditiously as possible.

         The Finding is causing and will continue to cause Kingtom extraordinary hardship,

including loss of business opportunity, goodwill, and reputation with existing and prospective

customers, and is also likely to result in Kingtom having to enter bankruptcy. Kingtom’s

business focuses almost exclusively on the U.S. market. See, e.g., ECF No. 20 at 2,

Attachment 1. Yet, due to Customs’ Finding, Kingtom is unable to perform on its U.S. sales.

Id. Each day that passes in which Kingtom is wrongfully subject to Customs’ Finding and its

goods are denied access to the U.S. market inflicts further harm on Kingtom, making it likelier

that the company will be forced to file for bankruptcy. This ongoing harm, coupled with the

strong public interest in ensuring that the trade statutes are interpreted and applied “uniformly

and fairly,” warrants expedited consideration. See Am. Signature, Inc. v. United States, 598

F.3d 816, 830 (Fed. Cir. 2010).

II.      Argument

         The Court’s rules provide that the Court may expedite and give precedence to “{a}ny {}

action that the court determines, based on motion and for good cause shown, warrants expedited

treatment.” USCIT R. 3(g)(5). Good cause exists to expedite consideration of an action where

(1) failure to expedite would result in mootness or deprive the relief requested of much of its

value, (2) failure to expedsite would result in extraordinary hardship to a litigant, or (3) the

public interest in enforcement of the statute is particularly strong. See Ontario Forest Indus.

Ass’n v. United States, 30 C.I.T. 1117, 1127, 444 F. Supp. 2d 1309, 1319 (2006). Failure to


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expedite consideration in this case meets all three of these grounds for good cause.

Accordingly, Kingtom requests that this Court expedite consideration of this action pursuant to

Rule 3(g)(5).

       First, as noted above, Kingtom faces the very real possibility that it will have to cease

operations and file for bankruptcy as a result of Customs’ Finding. Customs’ Finding and

resulting embargo on Kingtom’s imports is preventing Kingtom from performing its contractual

obligations on its sales to customers, see ECF No. 20 at 2, Attachment 2, because its

merchandise is deemed prohibited merchandise that is not entitled to entry into the United States

pursuant to 19 U.S.C. § 1307. See Finding. Protracted litigation to contest Customs’ Finding is

not a realistic option to safeguard Kingtom’s survival, as its business focuses almost exclusively

on the U.S. market. See ECF No. 20 at 2, Attachment 2. Should Kingtom cease to operate as a

going concern, this action will become moot.

       Second, Kingtom has outlined above the extraordinary hardship Kingtom faces as a

litigant. Without being able to perform on its sales, Kingtom will likely have to enter

bankruptcy proceedings because its business focuses exclusively on the U.S. market. Kingtom

does not have revenue from third-country markets to cover its liabilities while this case is

pending and is therefore likely to suffer bankruptcy if this action is not expedited. Kingtom

requests expedited action because its position as a continuing litigant in this action, and its very

existence as a company, are at stake.

       Third, the public interest weighs strongly in favor of promptly reviewing the agency’s

actions in this case to ensure proper enforcement of the statute. Where an agency can wield its

enforcement authority to put a company out of business by denying its goods entry into the U.S.

market, it should wield this power with appropriate discretion and in observance of the proper




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procedure by which all agency actions are held accountable. See 5 U.S.C. § 701 et seq. In this

case, Customs has issued a Finding without providing any evidence to support its conclusion.

Moreover, it appears to have relied on an errant reading of the statute that cannot be upheld as a

proper interpretation of the trade law as written. Thus, the public’s interest in fair and even-

handed enforcement of the nation’s trade laws demands urgent review of the agency’s actions in

this case. See Am. Signature, Inc., 598 F.3d at 830.

       Based on the above, expedited consideration of Kingtom’s appeal is warranted here.

III.   Conclusion

       For the foregoing reasons, Plaintiff respectfully requests that this court grant this motion

for expedited consideration of Plaintiff’s action.

                                              Respectfully submitted,

                                              /s/ Brady W. Mills
                                              Brady W. Mills
                                              Donald B. Cameron
                                              Julie C. Mendoza
                                              R. Will Planert
                                              Mary S. Hodgins
                                              Eugene Degnan
                                              Jordan L. Fleischer
                                              Nicholas C. Duffey
                                              Ryan R. Migeed
                                              MORRIS, MANNING & MARTIN LLP
                                              1333 New Hampshire Avenue, N.W.,
                                              Suite 800
                                              Washington, D.C. 20036
                                              Counsel to Plaintiff Kingtom Aluminio S.R.L.
Dated: February 19, 2025




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                  Plaintiff,

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 UNITED STATES OF AMERICA;
 DEPARTMENT OF HOMELAND SECURITY;
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 PROTECTION; KRISTI NOEM, in her official                           Ct. No. 24-00264
 capacity as Secretary of the Department of
 Homeland Security; CALEB VITELLO, in his
 official capacity as the Acting Commissioner for
 U.S. Customs and Border Protection,

                  Defendants.


                                      PROPOSED ORDER

         Upon consideration of Plaintiff’s motion to expedite and all other pertinent papers and

proceedings, it is hereby:

         ORDERED that the motion to expedite be and hereby is GRANTED; and it is further

         ORDERED that, pursuant to Rule 3(g) of the U.S. Court of International Trade, this

matter is expedited and given precedence over other pending actions.

         SO ORDERED.



Dated:
         New York, New York                           Timothy M. Reif, Judge




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